Case 8:13-cv-00037-JVS-AN Document 18 Filed 10/23/13 Page 1 of 1 Page ID #:85




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 8                        UNITED STATES DISTRICT COURT
 9                      CENTRAL DISTRICT OF CALIFORNIA
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11 EDWARD PAO, an individual,    ) CASE NO.: SACV13-00037-JVS (ANx)
                                 )
12                               )
                 Plaintiff,      )
13                               ) ORDER
           vs.                   )
14                               )
     LEGAL RECOVERY LAW OFFICES, )
15   INC., etc.,                 )
                                 )
16                               )
                 Defendants.     )
17                               )
18        TO ALL PARTIES AND THEIR COUNSEL:
19        Based upon the stipulation of the parties, IT IS ORDERED that the above-
20 captioned matter is dismissed. The Court shall retain jurisdiction over to parties to

21 enforce the written settlement agreement.

22        IT IS SO ORDERED.
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25 Dated: October 23, 2013
                                                   JUDGE OF THE DISTRICT COURT
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